     Case 4:21-cr-00009 Document 289-1 Filed on 09/07/22 in TXSD Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


UNITED STATES OF AMERICA                 §
                                         §
v.                                       §         Criminal No. 4:21-cr-00009
                                         §
ROBERT T. BROCKMAN                       §


            [PROPOSED] ORDER OF DISMISSAL OF INDICTMENT

       The Unopposed Motion for Dismissal of Indictment, made by defense counsel based

on the death of the defendant, is HEREBY GRANTED.

       So ORDERED this __ day of September, 2022.




                                              George C. Hanks, Jr.
                                              United States District Judge
